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                       EXHIBIT B
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     MRS-L-000425-20 02/20/2020 5:02:54 PM Pg 2 of 22 Trans ID: LCV2020360024
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     MRS-L-000425-20 02/20/2020 5:02:54 PM Pg 3 of 22 Trans ID: LCV2020360024
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     MRS-L-000425-20 02/20/2020 5:02:54 PM Pg 4 of 22 Trans ID: LCV2020360024
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     MRS-L-000425-20 02/20/2020 5:02:54 PM Pg 5 of 22 Trans ID: LCV2020360024
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     MRS-L-000425-20 02/20/2020 5:02:54 PM Pg 6 of 22 Trans ID: LCV2020360024
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     MRS-L-000425-20 02/20/2020 5:02:54 PM Pg 7 of 22 Trans ID: LCV2020360024
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     MRS-L-000425-20 02/20/2020 5:02:54 PM Pg 8 of 22 Trans ID: LCV2020360024
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      MRS-L-000425-20 02/20/2020 5:02:54 PM Pg 9 of 22 Trans ID: LCV2020360024
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      MRS-L-000425-20 02/20/2020 5:02:54 PM Pg 10 of 22 Trans ID: LCV2020360024
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      MRS-L-000425-20 02/20/2020 5:02:54 PM Pg 11 of 22 Trans ID: LCV2020360024
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      MRS-L-000425-20 02/20/2020 5:02:54 PM Pg 12 of 22 Trans ID: LCV2020360024
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      MRS-L-000425-20 02/20/2020 5:02:54 PM Pg 13 of 22 Trans ID: LCV2020360024
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      MRS-L-000425-20 02/20/2020 5:02:54 PM Pg 14 of 22 Trans ID: LCV2020360024
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      MRS-L-000425-20 02/20/2020 5:02:54 PM Pg 15 of 22 Trans ID: LCV2020360024
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      MRS-L-000425-20 02/20/2020 5:02:54 PM Pg 16 of 22 Trans ID: LCV2020360024
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      MRS-L-000425-20 02/20/2020 5:02:54 PM Pg 17 of 22 Trans ID: LCV2020360024
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      MRS-L-000425-20 02/20/2020 5:02:54 PM Pg 18 of 22 Trans ID: LCV2020360024
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      MRS-L-000425-20 02/20/2020 5:02:54 PM Pg 19 of 22 Trans ID: LCV2020360024
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      MRS-L-000425-20 02/20/2020 5:02:54 PM Pg 20 of 22 Trans ID: LCV2020360024
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      MRS-L-000425-20 02/20/2020 5:02:54 PM Pg 21 of 22 Trans ID: LCV2020360024
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      MRS-L-000425-20 02/20/2020 5:02:54 PM Pg 22 of 22 Trans ID: LCV2020360024
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